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United States District Court

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Western District of Kentuc ST.N_ msT_ KENTUCKY

 

Case Title
UNITED STATES OF AMERICA

V.

GLENN A. CAPLE

 

Docket No.

CRIMINAL ACTION NO. 3:13CR-134-CRS

 

The defendant, Glenn A. Caple, §§ bL'\ \ig
ilty/noq

 

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WE, THE JURY, IN THE ABOVE ENTITLED AND NUMBERED CASE FIND:

as to Count 1' of the indictment

 

Foreperson’s Signature

 

Date

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